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     MICHAEL L. BECKER, ESQ.
1    Nevada Bar No. 8765
     LAS VEGAS DEFENSE GROUP, LLC
2
     2970 W. Sahara Avenue CASE NO. 2:12-cr-00340-JCM
3    Las Vegas, NV 89102
     (702) 530-2325- Telephone
4    Attorney for Defendant

5                                  UNITED STATES DISTRICT COURT

6                                      DISTRICT COURT OF NEVADA
7
     UNITED STATES OF AMERICA,           )                 CASE NO. 2:13-cr-00340-JCM
8
                                         )
9
                       Plaintiff,        )
                                         )
10         vs.                           )                 STIPULATION AND PROPOSED ORDER
                                         )                 TO CONTINUE REVOCATION HEARING
11   ERIC CHRISTOPHER FONTENELLE JR. )
                                         )
12                                       )
                       Defendant.        )
13   ____________________________________)
14
            It is hereby stipulated and agreed between the United States of America, by and through
15
     Christopher Chiou, Acting United States Attorney by and through Supriya Prasad, Assistant
16
     United States Attorney and Michael L. Becker, counsel for Defendant ERIC CHRISTOPHER
17
     FONTENELLE JR., that the revocation hearing currently set for Wednesday, December 1, 2021
18
     at 10:30 a.m. in Courtroom 3A before the Honorable James C. Mahan be vacated and continued
19
     to a date and time convenient to the Court but no earlier than ninety days. This stipulation is entered
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     into for the following reasons:
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22
            1. This is a joint request by counsel for the United States and for the Defendant for a
23
                continuance.
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     2. The Petition for Revocation of Supervised Release alleges that the Defendant
1
        committed a new offense while under supervision.
2

3    3. That said offense is scheduled for an arraignment in St. Tammany Parish in Louisiana
4       on January 26, 2022 on Case No.: 5083M2021.
5    4. That the Defendant is currently being supervised in Louisiana.
6    5. That the Defendant does not object to this request for a continuance.
7    6. That this is the second request for a continuance of the revocation hearing.
8
     A proposed order is attached.
9
     RESPECTFULLY SUBMITTED this 24th day of November, 2021.
10

11
                                                   /s/ Michael L. Becker, Esq.
12                                                Michael L. Becker, Esq.
                                                  Nevada Bar No. 8755
13
                                                  Attorneys for Eric Christopher Fontenelle Jr.
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15                                                 /s/ Supriya Prasad, Esq.
                                                   Supriya Prasad
16                                                 Assistant United States Attorney

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1                                  UNITED STATES DISTRICT COURT
2
                                     DISTRICT COURT OF NEVADA
3

4    UNITED STATES OF AMERICA,           )
                                         )
5                      Plaintiff,        )                CASE NO. 2:12-cr-00113-JCM-VCF-3
                                         )
6          vs.                           )
                                         )                FINDINGS OF FACT, CONCLUSIONS
7                                        )                OF LAW AND ORDER CONTINUING
                                         )                REVOCATION HEARING
8
     ERIC CHRISTOPHER FONTENELLE JR., )
9
                                         )
                                         )
10                     Defendant.        )
     ____________________________________)
11
                                            FINDINGS OF FACT
12
             Based on the pending stipulation of counsel, and good cause appearing therefore, the Court
13
     finds that:
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15
             1. This is a joint request by Counsel for the United States and for the Defendant for a

16                 continuance.

17           2. The Petition for Revocation of Supervised Release alleges that the Defendant

18                 committed new offenses while under supervision.

19
             3. That said offense is now scheduled for an arraignment in St. Tammany Parish in
20
                   Louisiana on January 26, 2022.
21
             4. That the Defendant is currently being supervised in Louisiana.
22
             5. That the Defendant does not object to this request for a continuance.
23
             6. That this is the second request for a continuance of the revocation hearing.
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                                                     3
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                                       CONCLUSIONS OF LAW
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            For the above stated reasons, the ends of justice would be served by granting a
2

3    continuance of the revocation hearing.

4                                                ORDER

5           IT IS THEREFORE ORDERED, that the hearing regarding revocation currently

6    scheduled for Wednesday, December 1st, 2021 at 10:30 a.m., be continued to the 2nd day

7    of March, 2022 at 10:00 a.m., in Courtroom 6A before Judge James C. Mahan.
8
                November
     SO ORDERED this       29,of2021.
                     ____ day    November, 2021.
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10

11                                        _________________________________________
                                          HONORABLE JAMES C. MAHAN
12                                        UNITED STATES DISTRICT COURT JUDGE

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                                     CERTIFICATE OF SERVICE
1
            I certify that I am employee of Las Vegas Defense Group, LLC. A copy of the above
2

3    STIPULATION AND PROPOSED ORDER TO CONTINUE REVOCATION HEARING (First

4    Request) was served upon counsel of record via Electronic Case Filing (ECF)

5
            Dated this 24th day of November, 2021
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7
                                         An Employee of Las Vegas Defense Group, LLC.
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